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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 24-80116-CR-CANNON


  UNITED STATES OF AMERICA,

        Plaintiff,

        vs.

  RYAN WESLEY ROUTH,

        Defendant.
                                    /

              MOTION FOR SEALED HEARING REGARDING THE
                 TERMINATION OF APPOINTED COUNSEL

        Ryan Routh respectfully requests the Court set a hearing to terminate

  the representation of his appointed counsel and their office. Undersigned coun-

  sel submits that such a hearing should be conducted in camera and under seal

  to preserve attorney-client privileged information.

        On July 8, 2025, defense counsel conferred with the government regard-

  ing their position on such a hearing. The government advised: the United

  States defers to the Court about the appropriateness of conducting some or all

  of a hearing ex parte regarding the Defendant’s representation, except to the

  extent a continuance of the trial date is in any way a consideration. If moving
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  the trial date is a consideration at all, the United States objects to any ex parte

  discussion of that topic and objects to any continuance.


  Respectfully submitted,

  HECTOR A. DOPICO
  Federal Public Defender

  s/ Kristy Militello                            s/Renee M. Sihvola
  Kristy Militello                               Renee M. Sihvola
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                          CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the

  foregoing document is being served this day on all counsel of record via trans-

  mission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to re-

  ceive electronically Notices of Electronic Filing.


                                        s/ Kristy Militello
                                        Kristy Militello
